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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRG]NIA
Alexandria Division

JosE L. ECHEVERRIA,
Plaintiff,
v. Civil Action No. 1:18cv30
SAMUEL I. WHITE, P.C., et al.,
Defendants.

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On February 12, 2019, United States Magistrate Judge Theresa Carroll Buchanan
entered a Report and Recommendation (“Report”) in this foreclosure case,
recommending that defendants’ motion for sanctions be granted in part and denied in
part.

Upon consideration of the record and Judge Buchanan’s Report, to Which no
objections have been filed, and having found no clear error,1

The Court ADOPTS, as its own, the findings of fact and recommendations of
Judge Buchanan as set forth in her well-reasoned Report (Doc. 33).

Accordingly,

 

l See Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (in the absence of any
objections to a magistrate’s report, the court “need not conduct a de novo review, but instead must ‘only
satisfy itself that there is no clear error on the face of the record in order to accept the

recommendation.”’).

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lt is hereby ORDERED that defendants’ motion for sanctions (Doc. 26) is
GRANTED IN PART AND DENIED IN PART as set forth in Judge Buchanan’s

Report.

The Clerk of the Court is directed to provide a copy of this Order to all counsel of

record and to place this matter among the ended causes.

Alexandria, Virginia

March 28, 2019 ; )

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U_nited States District J ge

